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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 18-1617V
                                          UNPUBLISHED


    DEBORAH ANN DUNATOV,                                        Chief Special Master Corcoran

                         Petitioner,                            Filed: August 7, 2020
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Robert D. Trzynka, Hovland, Rasmus, Brendtro & Trzynka, Prof. LLC, Sioux Falls, SD,
for petitioner.

Julia Marter Collison, U.S. Department of Justice, Washington, DC, for respondent.


                                 DECISION AWARDING DAMAGES1

       On October 18, 2018, Deborah Ann Dunatov filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. § 300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleges that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza (“flu”) vaccination received
on October 26, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.

        On February 25, 2020, a ruling on entitlement was issued, finding Petitioner
entitled to compensation for SIRVA. On August 7, 2020, Respondent filed a proffer on
award of compensation (“Proffer”) indicating Petitioner should be awarded $45,019.00
(representing $39,500.00 for pain and suffering and $5,519.00 for lost wages). Proffer at

1
   Because this unpublished decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
  National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. § 300aa
(2012).
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2. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

      Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $45,019.00 (representing $39,500.00 for actual and projected pain
and suffering, with projected pain and suffering reduced to net present value, and
$5,519.00 for lost wages) in the form of a check payable to Petitioner. This amount
represents compensation for all damages that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




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  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS


 DEOBRAH ANN DUNATOV,

                 Petitioner,                          No. 18-1617V
                                                      Chief Special Master Corcoran
 v.                                                   ECF

 SECRETARY OF HEALTH AND
 HUMAN SERVICES,

                 Respondent.


              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On October 18, 2018, Deborah Ann Dunatov (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (SIRVA) as a result of an influenza (flu) vaccine administered to her on October

26, 2016. On February 25, 2020, the Chief Special Master issued a Ruling on Entitlement

finding petitioner entitled to compensation.

I.     Items of Compensation

       A.       Pain and Suffering

       Respondent proffers that petitioner should be awarded $39,500.00 in actual and projected

pain and suffering. This amount reflects that the award for projected pain and suffering has been

reduced to net present value. See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.

       B.       Lost Wages

       Evidence supplied by petitioner documents petitioner’s lost wages as a result of her

vaccine injury. Respondent proffers that petitioner should be awarded lost wages in the amount
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of $5,519.00, as provided under the Vaccine Act, 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner

agrees.

II.       Form of the Award

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following1: a lump sum payment of $45,019.00, representing

compensation for pain and suffering ($39,500.00), and lost wages ($5,519.00.00), in the form of

a check payable to petitioner, Deborah Ann Dunatov.

III.      Summary of Recommended Payments Following Judgment

          Lump sum payable to petitioner, Deborah Ann Dunatov:

          $45,019.00



                                                Respectfully submitted,


                                                ETHAN P. DAVIS
                                                Acting Assistant Attorney General

                                                C. SALVATORE D’ALESSIO
                                                Acting Director
                                                Torts Branch, Civil Division

                                                CATHARINE E. REEVES
                                                Deputy Director
                                                Torts Branch, Civil Division

                                                DARRYL R. WISHARD
                                                Assistant Director
                                                Torts Branch, Civil Division
1
       Should petitioner die prior to entry of judgment, the parties reserve the right to move the
Court for appropriate relief. In particular, respondent would oppose any award for future lost
earnings and future pain and suffering.
                                                   2
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                                    /s/ Julia M. Collison
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Dated:       August 7, 2020




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